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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

UNITED STATES OF AMERICA                                                         PLAINTIFF

v.                                 No. 4:11CR00156-19 JLH

JOSHUA A. HAWLEY                                                              DEFENDANT

                                          ORDER

       Pending before the Court is the defendant’s motion for continuance of the probation

revocation hearing currently set for Friday, August 2, 2013. Without objection, the motion is

GRANTED. Document #663. A new hearing date will be set by separate notice.

       IT IS SO ORDERED this 24th day of July, 2013.




                                          _________________________________
                                          J. LEON HOLMES
                                          UNITED STATES DISTRICT JUDGE
